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 4
     Attorney for JAMES DAVID McCABE,
 5   Defendant
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )   No. CR.S-07-232-DLJ
                                        )
12                   Plaintiff,         )   MOTION FOR ACCEPTANCE OF WAIVER
                                        )   OF PERSONAL APPEARANCE AT
13        v.                            )   ARRAIGNMENT
                                        )
14   JAMES DAVID McCABE,                )   (Rule 10(b), F.R.Cr.P.)
                                        )
15                   Defendant.         )
                                        )
16                                      )
17
18        Defendant JAMES DAVID McCABE, by and through his attorney, hereby
19   moves this Court pursuant to Rule 10(b) of the Federal Rules of
20   Criminal Procedure to permit him to waive his personal appearance at
21   the arraignment on the Superseding Indictment in the within matter
22   presently set for September 11, 2007, for the following reasons:
23        1. Mr. McCabe resides in Montague, Siskiyou County, California.
24   He is disabled, subsists on Social Security and SSI benefits and does
25   not drive.   His only means of transport to and from Sacramento is by
26   train from Dunsmuir ($160) or bus from Weed ($101) which is difficult
27   on his limited income.    Travel to this District for a short court
28   appearance would be unduly burdensome on this defendant at this time.


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 1        2.    Pursuant to Federal Rule of Criminal Procedure 10(b), the
 2   defendant has filed herein a written waiver of his appearance which
 3   affirms that he has received a copy of the Superseding Indictment,
 4   that he waives a formal reading of same and enters a plea of not
 5   guilty.
 6        3.    The Superseding Indictment does not change or add charges as
 7   to this defendant.
 8        4.    Counsel for the Government does not object to waiver of this
 9   appearance.
10        5.    Accordingly, pursuant to Rule 10(b), it is requested that this
11   Court accept the defendant's waiver of appearance at arraignment on the
12   Superseding Indictment.
13
     Dated:    September 6, 2007
14                                             Respectfully submitted,
15
                                               /s/ CANDACE A. FRY
16                                             CANDACE A. FRY, Attorney for
                                               JAMES DAVID McCABE, Defendant
17
18
19                                        O R D E R
20        For good cause shown, defendant David James McCabe's request to
21   waive his appearance at arraignment on the Superseding Indictment in
22   this matter is hereby GRANTED.
23   Dated: 9/7/07                 /s/ Gregory G. Hollows
24                                 GREGORY G. HOLLOWS
                                   U. S. MAGISTRATE JUDGE
25   mccabe.ord
26
27
28


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